Case 3:05-cr-30133-DRH     Document 225 Filed 08/31/06      Page 1 of 1   Page ID
                                     #624



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

      Plaintiff,

vs.

JOHN FROST, et al,

      Defendants.                                    Case No. 05-cr-30133-DRH

                                     ORDER

HERNDON, District Judge:

            Pending before the Court is defendant John Frost’s Motion to Withdraw

and Request for Substitute CJA Counsel to be Appointed (Doc. 223). Said Motion

is hereby GRANTED. Due to a recently developed conflict of interest, defendant

Frost’s current counsel, Robert Herman, is hereby granted leave to withdraw from

this case. Defendant Frost has further requested the Court appoint a substitute CJA

attorney to represent him in this matter. Therefore, the Court APPOINTS attorney

Michael S. Ghidina as CJA counsel to represent defendant Frost in this matter.

            IT IS SO ORDERED.

            Signed this 31st day of August, 2006.

                                                    /s/        David RHerndon
                                                    United States District Judge
